Case 2:23-cv-00878-HCN-DAO              Document 18      Filed 05/20/24      PageID.1077        Page 1
                                               of 2




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 Attorneys for The Economist Newspaper NA, Inc.

             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH



   KLAY ANDERSON, et. al,                                 MOTION FOR ADMISSION
                                                        PRO HAC VICE OF NIMRA AZMI
                          Plaintiffs,
             v.                                            Civil No. 2:23-cv-878-HCN-DAO

   THE ECONOMIST NEWSPAPER NA,                        District Judge Howard C. Nielson, Jr.
   INC.,                                              Magistrate Judge Daphne A. Oberg

                          Defendant.


          I move for the pro hac vice admission of Nimra Azmi as counsel for Defendant The

 Economist Newspaper NA, Inc., and I consent to serve as local counsel. The application and

 proposed order are attached as exhibits, and the admission fee will be paid to the court at the

 time of filing. I certify that the Applicant is not a member of the Utah State Bar, does not

 maintain a law office in Utah, and has not been admitted pro hac vice in any case in this district

 in the previous five years.




 4854-2438-4960\1
Case 2:23-cv-00878-HCN-DAO       Document 18   Filed 05/20/24    PageID.1078   Page 2
                                        of 2




 DATED this 20th day of May, 2024.


                                       DORSEY & WHITNEY, LLP


                                       /s/ Milo Steven Marsden______
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                                       Maryann Bauhs
                                       Attorneys for Defendant




                                         2
 4854-2438-4960\1
